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 8                   IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                   EASTERN DIVISION
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12 EMPYREAL ENTERPRISES, LLC,                   Case No.: 5:22-cv-00094-JWH-SHKx
13                      Plaintiff,              ORDER GRANTING CONSENT
                                                MOTION AND STIPULATION
14             v.
15 THE UNITED STATES OF AMERICA,
     et al.,
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                        Defendants.
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 1         Having considered the parties’ Stipulation, and good cause appearing
 2 therefor, it is hereby ORDERED as follows:

 3         1.    The Stipulation is APPROVED.
 4         2.    Plaintiff shall file an Amended Complaint on or before March 16,
 5 2022.

 6         3.    Federal Defendants and Sheriff Dicus shall file their respective
 7 responses to the Amended Complaint on or before April 15, 2022.

 8         IT IS SO ORDERED.
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10 Dated: February 28, 2022

11
                                           John W. Holcomb
12                                         UNITED STATES DISTRICT JUDGE
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